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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HOLT HEALTHCARE                                        )
MANAGEMENT SERVICES, INC.,                             )
on behalf of plaintiff and                             )
the class members defined herein,                      )     l4-cv-3023
                                                       )
               Plaintiff,                              )
                                                       )     Judge Pallmeyer
               V.                                      )     Magistrate Judge Martin
                                                       )
SOUTHWEST IMAGING, INC.,                               )
and JOHN DOES 1-10,                                    )

                            ORDER ENTERING DEFAULT JUDGMENT

                This matter coming to be heard on prove-up on damages and fees and costs in
support of Plaintiff s Motion for Entry of Default, all parties having notice and the Court being
fully advised in its premises, IT IS HEREBY ORDERED:

                Default judgment is entered against Defendant Southwest Imaging, Inc., and in
Plaintiff s favor, in the amount of $1,500.00 for Plaintiff in statutory damages, plus $3,409.50
in attorneys' fees and $455.00 in costs of suit.

               Defendant Southwest Imaging, Inc. is enjoined from further transmitting
unsolicited facsimile advertisements into the state of Illinois to Plaintiff.

               Plaintiff individual claims against John Does 1-10 are dismissed with prejudice
                            s
and without costs, pursuant to Federal Rule of Civil Procedure 41.




     Dated: August 21.2014
                                               Judge
